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In re: PURDUE PHARMA L.P., et al.,                                                                            Case No.: 19-23649 (RDD)
       Debtors                                                                      Reporting Period January 1, 2020 to January 31, 2020


                                   SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS ($)

     Case No.         Debtor Entity Name:                                            Net Receipts 2           Net Disbursements 1
     19-23648         PURDUE PHARMA INC.                                                            -     $               1,570,010
     19-23649         PURDUE PHARMA L.P.                                                     97,539,218   $              86,549,935
     19-23650         PURDUE TRANSDERMAL TECHNOLOGIES, L.P.                                         -     $                     -
     19-23651         PURDUE PHARMA MANUFACTURING L.P.                                              -     $                 240,757
     19-23652         PURDUE PHARMACEUTICALS L.P.                                                   -     $               5,291,518
     19-23653         IMBRIUM THERAPEUTICS L.P.                                                     -     $               1,480,348
     19-23654         ADLON THERAPEUTICS L.P.                                                       -     $               4,000,695
     19-23655         GREENFIELD BIO VENTURES L.P.                                                  -     $                  73,926
     19-23656         SEVEN SEAS HILL CORP.                                                         -     $                     -
     19-23657         OPHIR GREEN CORP.                                                             -     $                     -
     19-23658         PURDUE PHARMA OF PUERTO RICO                                                  -     $                   2,088
     19-23659         AVRIO HEALTH L.P.                                                          19,917   $               3,636,476
     19-23660         PURDUE PHARMACEUTICAL PRODUCTS L.P.                                           -     $                     -
     19-23661         PURDUE NEUROSCIENCE COMPANY                                                   -     $                     -
     19-23662         NAYATT COVE LIFESCIENCE INC.                                                  -     $                 231,554
     19-23663         BUTTON LAND L.P.                                                              -     $                     181
     19-23664         PAUL LAND INC.                                                                -     $                     -
     19-23665         QUIDNICK LAND L.P.                                                            -     $                     215
     19-23666         RHODES ASSOCIATES L.P.                                                        -     $                     -
     19-23667         RHODES PHARMACEUTICALS L.P.                                            11,250,097   $              10,973,996
     19-23668         RHODES TECHNOLOGIES                                                     1,545,956   $               4,271,029
     19-23669         UDF LP                                                                        -     $                     -
     19-23670         SVC PHARMA LP                                                                 -     $                 261,329
     19-23671         SVC PHARMA INC.                                                               -     $                     -
     Totals:                                                                    $           110,355,188   $            118,584,058

     Footnotes
     1) The Net Disbursements exclude intercompany transactions among Debtors
     2) The Net Receipts exclude intercompany transactions among Debtors




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In re: PURDUE PHARMA L.P., et al.,                                                                                              Case No.: 19-23649 (RDD)
       Debtors                                                                                                                          January 31, 2020


                                                           BANK ACCOUNT BALANCES ($)

                                                                                                                                   Balance as of
                    Debtor                                    Bank                        Account Number       Description          Month End
     Purdue Pharma L.P.               American Express National Bank (Restricted Cash)   xxxxxxx65041      CD                             750,000
     Purdue Pharma L.P.               Wells Fargo (Restricted Cash)                      xxxx2400          Escrow                      10,827,373
     Purdue Pharma L.P.               Wells Fargo (Restricted Cash)                      xxxx3900          Escrow                              -
     Purdue Pharma L.P.               East West Bank                                     xxxxxx9773        LOC/Collateral              10,010,351
     Purdue Pharma L.P.               East West Bank                                     xxxxxx9808        LOC/Collateral               3,503,594
     Purdue Pharma L.P.               East West Bank                                     xxxxxx9836        LOC/Collateral               1,661,758
     Purdue Pharma L.P.               East West Bank                                     xxxxxx9136        Account                    201,138,644
     Purdue Pharma L.P.               Metropolitan Commercial Bank                       xxxxxx4813        Account                    100,276,877
     Purdue Pharma L.P.               Bank of Oklahoma                                   xxxxx8720         Account                    100,119,098
     Purdue Pharma L.P.               JPMorgan/Dreyfus Funds #761                        xxxx7720          Money Market Fund                   -
     Purdue Pharma L.P.               Goldman Sachs #520                                 xxxx8266          Money Market Fund           53,690,147
     Purdue Pharma L.P.               Goldman Sachs #506                                 xxxx0462          Money Market Fund          638,966,824
     Purdue Pharma L.P.               JP Morgan Chase                                    xxxxx5837         Operating                           -
     Purdue Pharma L.P.               East West Bank                                     xxxxxx9129        Operating                   15,692,374
     Purdue Pharma L.P.               JP Morgan Chase                                    xxxxxxxxx8509     Operating                           -
     Purdue Pharma L.P.               JP Morgan Chase                                    xxxxx8921         Operating                           -
     Purdue Pharma L.P.               JP Morgan Chase                                    xxxxx2890         Operating                           -
     Purdue Pharma L.P.               East West Bank                                     xxxxxx9388        ERISA                          230,325
     Purdue Pharma L.P.               East West Bank                                     xxxxxx9549        Operating                      350,663
     Purdue Pharma L.P.               East West Bank (Restricted Cash)                   xxxxxx9304        Restricted Account                  -
     Purdue Pharma L.P.               Wells Fargo (Restricted Cash)                      xxxx1100          Trust                       10,235,848
     Purdue Pharma L.P.               Wells Fargo (Restricted Cash)                      xxxx6600          Trust                       58,964,466
     Purdue Pharma L.P.               Metropolitan Commercial Bank (Restricted Cash)     xxxxxx6077        Trust                       12,012,571
     Purdue Pharma L.P.               Metropolitan Commercial Bank (Restricted Cash)     xxxxxx4767        Trust                      125,309,380
     Purdue Pharma L.P.               Wells Fargo (Restricted Cash)                      xxxx0300          Trust                       10,355,539
     Purdue Pharma L.P.               Bank of Oklahoma                                   xxxxx4018         Trust                       25,061,316
     Purdue Pharma Inc.               East West Bank                                     xxxxxx9213        Operating                      165,353
     Purdue Pharma Inc.               JP Morgan Chase                                    xxxxx2866         Operating                           -
     Purdue Pharmaceuticals L.P.      Wells Fargo (Restricted Cash)                      xxxx5300          Trust                          125,474
     Imbrium Therapeutics L.P.        JP Morgan Chase                                    xxxxx1191         Operating                           -
     Imbrium Therapeutics L.P.        East West Bank                                     xxxxxx9241        Operating                           -
     Adlon Therapeutics L.P.          East West Bank                                     xxxxxx9248        Operating                           -
     Adlon Therapeutics L.P.          JP Morgan Chase                                    xxxxx5999         Operating                           -
     Greenfield BioVentures L.P.      JP Morgan Chase                                    xxxxx1118         Operating                           -
     Greenfield BioVentures L.P.      East West Bank                                     xxxxxx9234        Operating                           -
     Purdue Pharma of Puerto Rico     East West Bank                                     xxxxxx9185        Operating                           -
     Purdue Pharma of Puerto Rico     JP Morgan Chase                                    xxxxx5485         Operating                           -
     Avrio Health L.P.                East West Bank                                     xxxxxx9199        Operating                           -
     Avrio Health L.P.                JP Morgan Chase                                    xxxxx9278         Operating                           -
     Purdue Neuroscience Company      East West Bank                                     xxxxxx9227        Operating                           -
     Purdue Neuroscience Company      JP Morgan Chase                                    xxxxx6535         Operating                           -
     Nayatt Cove Lifescience Inc.     JP Morgan Chase                                    xxxxx8162         Operating                           -
     Nayatt Cove Lifescience Inc.     East West Bank                                     xxxxxx9220        Operating                           -
     Button Land L.P.                 East West Bank                                     xxxxxx9297        Operating                           -
     Button Land L.P.                 JP Morgan Chase                                    xxxxx1875         Operating                           -
     Paul Land Inc.                   East West Bank                                     xxxxxx9290        Operating                           -
     Paul Land Inc.                   JP Morgan Chase                                    xxxxx1859         Operating                           -
     Quidnick Land L.P.               JP Morgan Chase                                    xxxxx1891         Operating                           -
     Quidnick Land L.P.               East West Bank                                     xxxxxx9304        Operating                           -
     Rhodes Pharmaceuticals L.P.      JPMorgan/Dreyfus Funds #761                        xxxx3154          Money Market Fund                   -
     Rhodes Pharmaceuticals L.P.      East West Bank                                     xxxxxx9269        Operating                           -
     Rhodes Pharmaceuticals L.P.      JP Morgan Chase                                    xxxxx6220         Operating                           -
     Rhodes Technologies              JPMorgan/Dreyfus Funds #761                        xxxx3153          Money Market Fund                   -




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In re: PURDUE PHARMA L.P., et al.,                                                                                Case No.: 19-23649 (RDD)
       Debtors                                                                                                            January 31, 2020


                                                       BANK ACCOUNT BALANCES ($)

                                                                                                                     Balance as of
                 Debtor                                Bank                    Account Number       Description       Month End
     Rhodes Technologies             JP Morgan Chase                          xxxxxxxxx2509     Operating                        -
     Rhodes Technologies             JP Morgan Chase                          xxxxx6362         Operating                        -
     Rhodes Technologies             East West Bank                           xxxxxx9262        Operating                        -
     SVC Pharma LP                   JP Morgan Chase                          xxxxx9855         Operating                        -
     SVC Pharma LP                   East West Bank                           xxxxxx9276        Operating                        -
     SVC Pharma Inc.                 JP Morgan Chase                          xxxxx9863         Operating                        -
     SVC Pharma Inc.                 East West Bank                           xxxxxx9283        Operating                        -
     Total                                                                                                            1,379,447,976




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In re:   PURDUE PHARMA L.P., et al.,                                                                                                                    Case No.: 19-23649 (RDD)
         Debtors                                                                                                              Reporting Period January 1, 2020 to January 31, 2020

                                                     CONSOLIDATED STATEMENT OF OPERATIONS ($M) 1,2
                                        Consolidated Results of Purdue Pharma, L.P. and all Debtors except Purdue Pharma, Inc.

                                                                                                                                                                 3
                                                                                Current Month                  2020 Year to Date              2019 Cumulative
         Net Sales                                                                                   $90                            $90                              $401

         Cost of Goods Sold                                                                        159                             159                             (21)
         Royalty Expense                                                                            41                              41                              (3)
         Shipping and Warehousing                                                                    9                               9                              (1)
         Cost of Goods Sold                                                                        (25)                            (25)                           (125)

         Gross Profit                                                                                65                              65                              275

         Sales and Promotion                                                                        (11)                            (11)                           (49)
         Research and Development                                                                     (9)                             (9)                          (43)
         General and Administrative                                                                   (9)                             (9)                          (49)
         Legal Fees - Ordinary Course                                                                 (1)                             (1)                            (4)
         Medical Affairs                                                                              (3)                             (3)                          (14)
         Milestones & Alliances                                                                     -                               -                                (1)
         Health Care Reform Fee                                                                       (1)                             (1)                            (5)
         Other US                                                                                   -                               -                                (1)
         Incentive Bonus                                                                              (3)                             (3)                          (19)
         Insurance Income                                                                           -                               -                              -
         Settlement Expense                                                                         -                               -                              -
         Total Operating Expenses                                                                   (37)                            (37)                          (185)

         Operating Profit                                                                            28                              28                               91

         Legal Fees - Non-Recurring                                                                 (20)                            (20)                          (117)
         Other                                                                                      -                               -                               (7)
         Total Non-Operating Expenses                                                               (20)                            (20)                          (124)

         Profit                                                                                      8.0                            8.0                           ($33)

         Footnotes
         1) The numbers reflected in the Consolidated Statement of Operations are shown in MILLIONS.

         2) The financial statements and supplemental information contained herein are limited in scope and cover a limited time period. Moreover, such
         information is preliminary and unaudited. The financial position and results of operations contained herein are not necessarily indicative of results which
         may be expected for any other period or for the full year and as a result, may not reflect the consolidated financial position and results of operations of the
         Debtors in the future.

         3) Cumulative results for 2019 are beginning September 1, 2019 as operating results for the partial month from the filing date of September 15, 2019 to
         September 30, 2019 are not available.




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In re: PURDUE PHARMA L.P., et al.,                                                                                                              Case No.: 19-23649 (RDD)
       Debtors                                                                                                        Reporting Period January 1, 2020 to January 31, 2020

                                                                                                                         1,2
                                             PURDUE PHARMA, INC. STATEMENT OF OPERATIONS ($000)


                                                                                                                                                             3
                                                                            Current Month                  2020 Year to Date              2019 Cumulative
     Management Fee Income                                                                       $29                            $29                              $144
     General and Administrative Expenses                                                        (14)                           (14)                               (43)
      Operating Income                                                                           15                             15                               101

     Other income:                                                                              -                              -                                 -
     Income from Unconsolidated Associated Companies                                             59                             59                               (77)
     Interest income - associated companies                                                     -                              -                                 -
      Total Other Income                                                                         59                             59                               (77)

     Pre-Tax Income                                                                              74                             74                                24

     Income Tax Provision                                                                       (20)                           (20)                              (52)

     Net Income                                                                                $54                             $54                            ($29)


     Footnotes
     1) The numbers reflected in the Statement of Operations are shown in THOUSANDS.


     2) The financial statements and supplemental information contained herein are limited in scope and cover a limited time period. Moreover, such
     information is preliminary and unaudited. The financial position and results of operations contained herein are not necessarily indicative of results which
     may be expected for any other period or for the full year and as a result, may not reflect the consolidated financial position and results of operations of the
     Debtors in the future.

     3) Cumulative results for 2019 are beginning September 1, 2019 as operating results for the partial month from the filing date of September 15, 2019 to
     September 30, 2019 are not available.




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             In re: PURDUE PHARMA L.P., et al.,                                                                      Case No.: 19-23649 (RDD)
                    Debtors                                                                                                  January 31, 2020


                                            CONSOLIDATED BALANCE SHEET ($M) 1,2
                       Consolidated Results of Purdue Pharma, L.P. and all Debtors except Purdue Pharma, Inc.
                                                                                                  Book Value
                  ASSETS
                            CURRENT ASSETS
                                           Cash & Cash Equivalents                                            $1,109
                                           Available For Sale Investments                                         1
                                           Accounts Receivable, Net                                             115
                                           Due From Associated Companies                                         11
                                           Other Receivables                                                      2
                                           Inventories, Net                                                      82
                                           Prepaid Expenses & Other Current Assets                               81
                                           Restricted Cash                                                       13
                            TOTAL CURRENT ASSETS                                                              1,414

                                                Property and Equipment, net                                                  141
                                                Investments at Cost                                                           29
                                                Investments in Associated Companies                                          -
                                                Restricted Cash - Long-Term                                                  256
                                                Intangible Assets, Net                                                       102
                                                Other Assets                                                                  17
                  TOTAL ASSETS                                                                                             $1,959

                  LIABILITIES AND EQUITY
                            CURRENT LIABILITIES
                                       Accounts Payable                                                                         $54
                                       Accrued Expenses                                                                        385
                                       Due to Associated Companies                                                               1
                            TOTAL CURRENT LIABILITIES                                                                          440

                                          Other Liabilities                                                                   109
                                          Due to Associated Companies                                                          11
                                          Liabilities Subject to Compromise 3                                               3,017
                                TOTAL LIABILITIES                                                                           3,577

                                EQUITY
                                          Retained Earnings & Partners' Capital                                            (1,572)
                                          Accumulated Other Comprehensive Loss                                                (46)
                                TOTAL EQUITY                                                                               (1,618)

                  TOTAL LIABILITIES AND EQUITY                                                                             $1,959

                  Footnotes
                  1) The numbers reflected in the Consolidated Statement of Operations are shown in MILLIONS.

                  2) The financial statements and supplemental information contained herein are limited in scope and cover a
                  limited time period. Moreover, such information is preliminary, unaudited, and subject to change.

                  3) On September 15, 2019, the Company announced that it had reached an agreement in principle on a
                  framework for settling the U.S. opioid litigation facing the Company with twenty-four (24) state attorneys
                  general, analogous officials from five (5) U.S. territories, the Plaintiff’s Executive Committee in the MDL, and
                  co-lead counsel in the MDL. In connection with this agreement in principle, the shareholders of the Company
                  are expected to contribute their ownership in the Company to a trust or other entity established for the benefit
                  of claimants and the American people and a minimum of $3.0 billion, with the potential for substantial further
                  monetary contributions from the sales of their ex-U.S. pharmaceutical businesses. The Company has concluded
                  that for accounting purposes a loss has been incurred and has recorded a provision in the amount of $3.0
                  billion, in accordance with ASC 450, Accounting for Contingencies. This accounting provision of $3.0 billion
                  was recorded retroactively to December 31, 2018. The Company expects this amount to be paid by the
                  shareholders of the Company. The Company will reclassify the liability associated with the cash settlement that
                  is expected to be paid by the Company’s shareholders to equity as a capital contribution if the settlement
                  agreement is finalized and executed.




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In re: PURDUE PHARMA L.P., et al.,                                                            Case No.: 19-23649 (RDD)
       Debtors                                                                                         January 31, 2020


                              PURDUE PHARMA, INC. BALANCE SHEET ($000) 1,2

                                                                                        Book Value
     Assets
     Currents assets:
      Cash and cash equivalents                                                                               $165
      Prepaid expenses                                                                                          70
     Due from Associated Companies                                                                             948
     Total current assets                                                                                    1,183

      Investments                                                                                           8,877
      Deferred income taxes                                                                                   147
     Total assets                                                                                          $10,207

     Liabilities and equity
     Current liabilities:
      Accounts payable                                                                                        $845
     Due to Associated Companies                                                                               -
     Accrued Expenses                                                                                            3
     Total liabilites                                                                                         848

      Common stock                                                                                               1
      Additional paid-in capital                                                                               499
      Retained earnings                                                                                      8,924
      Accumulated other comprehensive loss                                                                     (65)
     Total equity                                                                                            9,359

     Total liabilites and equity                                                                           $10,207

     Footnotes
     1) The numbers reflected in the Statement of Operations are shown in THOUSANDS.

     2) The financial statements and supplemental information contained herein are limited in scope and cover a
     limited time period. Moreover, such information is preliminary, unaudited, and subject to change.




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In re: PURDUE PHARMA L.P., et al.,                                                               Case No.: 19-23649 (RDD)
       Debtors                                                         Reporting Period January 1, 2020 to January 31, 2020


                                          SCHEDULE OF PAYMENTS TO INSIDERS ($)

                                                                AMOUNT PAID DURING THE
                                   NAME                           REPORTING PERIOD              CUMULATIVE 1
     Compensation
        Chomiak, Caroline                                                         25,632                     130,537
        Kesselman, Marc L 2                                                      166,673                     722,298
        Landau, Craig J                                                          250,484                   1,026,195
        Lowne, Jonathan R                                                         83,566                     356,913
        Lundie, David R                                                           66,665                     293,885
        Mancinelli II, Vincent F                                                  40,935                     180,567
        Mazzi, Christian 3                                                       250,000                     439,030
        Medeiros, Paul                                                            55,950                     229,712
        Shamblen, Randy                                                           40,066                     176,709
        Strassburger, Philip C                                                    78,249                     320,990
     Total Compensation                                                        1,058,220                   3,876,835

     Director Fees
         Boer, F Peter                                                           175,000                     350,000
         Buckfire, Kenneth A                                                     175,000                     350,000
         Cola, Michael                                                           175,000                     350,000
         Collins, Michael J                                                          -                        25,000
         Dubel, John                                                             175,000                     350,000
         Miller, Robert S                                                        208,333                     625,000
         Muhlhauser, Eckhard                                                         -                        25,000
         Pickett, Cecil                                                          175,000                     350,000
     Total Director Fees                                                       1,083,333                   2,425,000

     T&E Reimbursements
        Boer, F Peter                                                                -                         8,163
        Buckfire, Kenneth A                                                          -                         1,179
        Chomiak, Caroline                                                          8,445                      29,280
        Cola, Michael                                                                764                         764
        Debone, Louis                                                                -                         1,245
        Dubel, John                                                                  -                         3,747
        Kesselman, Marc L                                                          6,157                      37,940
        Landau, Craig J                                                           11,926                      42,465
        Lowne, Jonathan R                                                            187                         788
        Lundie, David R                                                            1,238                      19,673
        Mancinelli II, Vincent F                                                  15,315                      38,530
        Mazzi, Christian                                                               89                      3,734
        Medeiros, Paul                                                             1,463                      20,815
        Miller, Robert S                                                             834                       4,413
        Pickett, Cecil                                                               -                         1,298
        Shamblen, Randy                                                              395                       9,186
        Strassburger, Philip C                                                     3,653                      11,283
     Total T&E Reimbursements                                                     50,465                     234,502

     Housing Payments
        Kesselman, Marc L                                                          4,673                      23,138
     Total Housing Payments                                                        4,673                      23,138




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     Indemnification Payments
         Butcher, James A                                                                        -                              527
         Friedman, Michael                                                                       -                           25,424
         Landau, Craig J                                                                     311,009                        312,495
         Motahari, Saeed                                                                      14,320                         14,320
         Stewart, John                                                                        18,913                         18,913
         Timney, Mark                                                                            519                          1,508
     Total Indemnification Payments                                                          344,761                        373,188

     Payments to Independent Associated Companies
        Mundibiopharma Ltd                                                                        -                          55,332
        Mundipharma IT Services LTD                                                           227,081                       229,088
        Mundipharma Laboratories GmbH                                                         138,029                       271,128
        One Stamford Realty L.P.                                                              742,072                     3,222,342
        Purdue Pharma Canada                                                                  235,670                     1,357,101
        TXP Services Inc. 4                                                                   777,242                     2,534,306
     Total Payments to Independent Associated Companies                                     2,120,094                     7,669,296

     Total Payments to Insiders                                                             4,661,547                    14,601,960

     Footnotes
     1) Represents payments made since the Commencement Date.
     2) Automobile allowance for Marc L. Kesselman is partially received in cash and partially through personal usage of a company-
     owned vehicle.
     3) Christian Mazzi also received an $8,392 reimbursement for foreign personal tax preparation services.
     4) Payments to TXP include a monthly charge of approximately $58,333 for Anthony Roncalli's service as a Director for Purdue
     Pharma Inc.




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    In re: PURDUE PHARMA L.P., et al.,                                                                       Case No.: 19-23649 (RDD)
           Debtors                                                                 Reporting Period January 1, 2020 to January 31, 2020


                                  SCHEDULE OF RETAINED RESTRUCTURING PROFESSIONAL FEES ($)


                                                                              AMOUNT PAID DURING THE
                                          NAME                                  REPORTING PERIOD             CUMULATIVE 1

         Estate Professionals
            Davis Polk & Wardwell LLP                                                             -                   12,096,909
            AlixPartners, LLP                                                                     -                      696,859
            PJT Partners LP                                                                       -                          -
            Prime Clerk LLC                                                                       -                    1,921,577
         Total Estate Professionals                                                               -                   14,715,344


         Creditor Committee Professionals
            Akin Gump Strauss Hauer & Feld LLP                                                    -                          -
            Bayard, P.A.                                                                          -                          -
            Jefferies LLC                                                                         -                          -
            Province, Inc.                                                                        -                          -
            Kurtzman Carson Consultants LLC                                                       -                          -
         Total Creditor Committee Professionals                                                   -                          -


         Ad Hoc Committee Professionals
            Kramer Levin Naftalis & Frankel LLP                                                   -                      909,740
            Brown Rudnick LLP                                                                 486,901                    486,901
            Gilbert LLP                                                                           -                      355,480
            Otterbourg PC                                                                         -                      275,740
            FTI Consulting, Inc                                                                   -                      623,714
            Compass Lexecon                                                                       -                          -
            Coulter & Justice                                                                     -                          -
         Total Ad Hoc Committee Professionals                                                 486,901                  2,651,575


         Special Counsel to the Debtors
            Dechert LLP                                                                           -                          -
            King & Spalding LLP                                                                   -                    2,142,346
            Skadden, Arps, Slate, Meagher & Flom LLP                                              -                    1,427,890
            Wilmer Cutler Pickering Hale and Door LLP                                             -                          -
         Total Special Counsel Professionals                                                      -                    3,570,236


         Ernst & Young (Canada), Court Appointed Information Officer                          142,079                    142,079


         Total Retained Restructuring Professional Fees                                       628,981                 21,079,234


         Footnotes
         1) Represents payments made since the Commencement Date




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In re: PURDUE PHARMA L.P., et al.,                                                                                                     Case No.: 19-23649 (RDD)
       Debtors                                                                                               Reporting Period January 1, 2020 to January 31, 2020


                                                                      DEBTOR QUESTIONNAIRE

     Must be completed each month. If the answer to any of the
     questions is “Yes”, provide a detailed explanation of each item.            Yes          No                            Comments
     Attach additional sheets if necessary.
     Have any assets been sold or transferred outside the normal course of
                                                                                              X
     business this reporting period?
     Have any funds been disbursed from any account other than a debtor in
                                                                                              X
     possession account this reporting period?
     Is the Debtor delinquent in the timely filing of any post-petition tax
                                                                                              X
     returns?
     Are workers compensation, general liability or other necessary
     insurance coverages expired or cancelled, or has the debtor received                     X
     notice of expiration or cancellation of such policies?
     Is the Debtor delinquent in paying any insurance premium payment?                        X
     Have any payments been made on pre-petition liabilities this reporting                        Payments made pursuant to certain First Day Orders were
                                                                                 X
     period?                                                                                       made during the period.
     Are any post petition receivables (accounts, notes or loans) due from                         Purdue Pharma, LP receives royalties from affiliated entities
                                                                                 X
     related parties?                                                                              for foreign sales of certain products.
     Are any post petition payroll taxes past due?                                            X
     Are any post petition State or Federal income taxes past due?                            X
     Are any post petition real estate taxes past due?                                        X
     Are any other post petition taxes past due?                                              X
                                                                                                   Payments have been made pursuant to the First Day Order
     Have any pre-petition taxes been paid during this reporting period?         X                 authorizing the Debtors to pay certain prepetition taxes
     Are any amounts owed to post petition creditors delinquent?                              X
     Are any wage payments past due?                                                          X
     Have any post petition loans been received by the Debtor from any
                                                                                              X
     party?
     Is the Debtor delinquent in paying any U.S. Trustee fees?                                X
     Is the Debtor delinquent with any court ordered payments to attorneys
                                                                                              X
     or other professionals?
     Have the owners or shareholders received any compensation outside of
                                                                                              X
     the normal course of business?




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